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                   UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION        )
OPIATE LITIGATION                   )    MDL No. 2804
                                    )
This document relates to:           )    Case No. 1:17-MD-2804-DAP
                                    )
Frederick County, Virginia, v.      )
Mallinckrodt PLC, et al.            )    Judge Dan Aaron Polster
Case No. 1:20-OP-45233
                                    )
City of Roanoke Virginia v.         )
Mallinckrodt PLC, et al.            )
Case No. 1:19-OP-45696              )
                                    )


           EXPRESS SCRIPTS DEFENDANTS’ SUPPLEMENTAL BRIEF
                    ON FEDERAL OFFICER REMOVAL
           IN OPPOSITION TO PLAINTIFFS’ MOTIONS TO REMAND
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                                           Introduction

       The Express Scripts Defendants properly removed the two above-captioned Virginia cases

(as well as dozens of other nearly identical cases pending in the MDL) under the federal-officer-

removal statute, 28 U.S.C. § 1442(a)(1). They did so because they were acting under the federal

government’s control when administering and filling opioid prescriptions through military and

federal employee healthcare programs. 1

       Ample case law confirms that removal is proper here. The Sixth Circuit previously noted

that an “action was properly removed to federal court by Express Scripts” under § 1442(a)(1)

because of its work at the behest of the U.S. Department of Defense (“DOD”) and TRICARE, the

military healthcare program. See Grider Drug, LLC v. Express Scripts, Inc., 500 F. App’x 402, 404

(6th Cir. 2012), affirming 2009 U.S. Dist. Lexis 107515, at *4–11 (W.D. Ky. Nov. 17, 2009).

       And just last year, the Fourth Circuit affirmed the Express Scripts Defendants’ removal

under § 1442(a)(1) of a Virginia opioid case substantively identical to the two Virginia opioid cases

at issue here. County Board of Arlington County, Virginia v. Express Scripts Pharmacy, Inc., 996

F.3d 243 (4th Cir. 2021). “[R]emoval was proper,” the Fourth Circuit held, because the Express

Scripts Defendants had shown that they satisfied all three elements of federal officer removal under

§ 1442(a)(1), including that “they were ‘acting under’ DOD in operating the TMOP [TRICARE

Mail Order Pharmacy] in accordance with the DOD contract.” Id. at 248.

       In reaching that decision, the Fourth Circuit drew on this Court’s ruling that McKesson had

properly removed an opioid case under § 1442(a)(1), concluding that “[s]imilar to McKesson, the

[Express Scripts] Defendants have plausibly alleged that they distributed opioid medications



       1
        In this brief, “Express Scripts Defendants” refers to Express Scripts, Inc., Express Scripts
Holding Company, Express Scripts Pharmacy, Inc., and ESI Mail Pharmacy Service, Inc.


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pursuant to reasonably precise specifications found in the DOD contract.” Id. at 255 (citing In re

Nat’l Prescription Opiate Litig. (“Cherokee Nation”), 327 F. Supp. 3d 1064 (N.D. Ohio 2018)).

       As is apparent from Arlington County, Cherokee Nation, and Grider, the Express Scripts

Defendants readily satisfy the three elements for removal under § 1442(a)(1).

       First, the Express Scripts Defendants act under the direction of a federal officer when

administering both the TRICARE program and the Federal Employees Health Benefits Program

(“FEHBP”). In implementing each healthcare program, various Express Scripts Defendants

provide pharmacy-benefit-manager (“PBM”) services and mail-order-pharmacy services to

military members and federal employees under the federal government’s strict and detailed

requirements, subject to its supervision and control. In so doing, the Express Scripts Defendants

perform a basic governmental task that the government would otherwise have to do itself.

       Second, Plaintiffs’ claims relate to the acts that the Express Scripts Defendants take in

carrying out their duties under TRICARE and FEHBP. The complaints allege that the Express

Scripts Defendants are liable under Virginia law because they purportedly failed to prevent the

over-prescription of opioids in Frederick County and the City of Roanoke. These allegations fault

the Express Scripts Defendants for following TRICARE’s and FEHBP’s requirements when

opioids were dispensed to the military and federal employees within Plaintiffs’ borders. They

therefore relate to the Express Scripts Defendants’ conduct under those programs.

       Third, the Express Scripts Defendants have two federal defenses: a government-contractor

defense and federal preemption. The Court should thus deny Plaintiffs’ remand motions: Frederick

County, Dkt. No. 23 (“Frederick MTR”), and City of Roanoke, Dkt. No. 59 (“Roanoke MTR”).2


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          These two cases were also removed on federal-question grounds, which provides an
alternative basis for denying remand. The federal-question basis for removal in these and other
cases is being addressed in a separate supplemental brief being filed concurrently with this brief.


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                                              Argument

        “Title 28, Section 1442 of the U.S. Code permits the removal of a ‘civil action . . . that is

commenced in a State court and that is against or directed to . . . any officer (or any person acting

under that officer) of the United States . . . in an official or individual capacity, for or relating to

any act under color of such office.’” Cherokee Nation, 327 F. Supp. 3d at 1069 (quoting 28 U.S.C.

§ 1442(a)(1)). This federal-officer-removal statute is “liberally construed,” id. (citing Watson v.

Philip Morris Companies, Inc., 551 U.S. 142, 147 (2007)), and has “broad scope,” Bennett v. MIS

Corp., 607 F.3d 1076, 1084 (6th Cir. 2010).

        A private company may remove under § 1442(a)(1) if: “(1) it is a person who acted under

the direction of a federal officer; (2) the actions for which it is being sued were performed under

the color of federal office, and (3) there is a colorable federal defense to the plaintiff’s claims.”

Cherokee Nation, 327 F. Supp. 3d at 1069–70 (citing Bennett, 607 F.3d at 1085).

        Plaintiffs Frederick County and City of Roanoke have urged this Court to follow the district

court decision in Arlington County because that case is materially identical to the cases at issue

here. Frederick County, Dkt. No. 35 at 4; Roanoke MTR at 1–2, 6. Plaintiffs are correct that these

cases are materially identical to Arlington County. And as the Fourth Circuit concluded when it

reversed the district court in Arlington County, the Express Scripts Defendants meet each element

for removal under § 1442(a)(1). 996 F.3d at 251–57. This Court should conclude the same.

I.      The Express Scripts Defendants are “acting under” a federal officer.

        The “acting under” prong contemplates a relationship in which the government exerts some

“subjection, guidance, or control” over a private entity beyond mere compliance with the law.

Watson, 551 U.S. at 151 (citation omitted). The central question is whether the private entity is

helping a federal officer “fulfill other basic governmental tasks” that “in the absence of a contract

with a private firm, the Government itself would have had to perform.” Id. at 153–54. “Therefore,


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while mere compliance with a government regulation, even a strict one, is insufficient to find that

a private company was acting under the direction of a federal officer, delegation of specific

government tasks meets the ‘acting under’ prong.” Cherokee Nation, 327 F. Supp. 3d at 1070. This

“acting under” analysis is the same in both the Sixth and Fourth Circuits, where this case was

originally filed. Compare Bennett, 607 F.3d at 1086, with Arlington County, 996 F.3d at 251–53.

       Here, the Express Scripts Defendants meet the “acting under” prong under two different

federal programs: TRICARE and FEHBP.

       A.      The Department of Defense directs and controls the Express Scripts
               Defendants’ administration of the TRICARE program.

       TRICARE is a federal health insurance program that DOD administers to provide medical

care to military members and their families. Arlington County, 996 F.3d at 248–49. To help meet

that goal, DOD is required by statute to contract with private entities. Id. at 253 (citing 10 U.S.C.

§ 1073a). In following that statutory mandate, DOD signed a contract with Express Scripts, Inc.,

both to provide PBM services and to operate the TRICARE Mail Order Pharmacy (“TMOP”) for

TRICARE members across the country, including those in Frederick and Roanoke. See Frederick

County, Dkt. No. 29-3 (“Frederick Cahill Decl.”) ¶¶ 3–8; Ex. A, attached hereto (“Roanoke Cahill

Decl.”) ¶¶ 3–8. Express Scripts, Inc., is not a mail-order pharmacy itself, so it subcontracted the

responsibility of running the TMOP to two affiliates: the ESI Mail Order Pharmacies. 3 Id. ¶ 14.

The duties of Express Scripts, Inc., and the ESI Mail Order Pharmacies under the DOD contract

are etched into the accompanying Statement of Work (“SOW”). Id. ¶¶ 3, 11–13, 20; see Frederick

County, Dkt. No. 29-4 (SOW) §§ C.6–C.7.




       3
        In this brief, “ESI Mail Order Pharmacies” refers to Express Scripts Pharmacy, Inc., and
ESI Mail Pharmacy Service, Inc.


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                1.      The ESI Mail Order Pharmacies satisfy the “acting under” prong.

        As the Fourth Circuit held in Arlington County on a materially identical complaint and a

materially identical record while applying identical law, the ESI Mail Order Pharmacies “acted

under” the DOD when operating the TMOP. 996 F.3d at 251–54.

        By running the TMOP, the ESI Mail Order Pharmacies are “providing healthcare services

that DOD must, by law, provide.” Id. at 243. In so doing, the ESI Mail Order Pharmacies help

DOD fulfill “basic government tasks”—providing prescription drugs to servicemembers—that the

government “would have had to perform if it had not contracted with” a private entity. Id. (citation

omitted). The Fourth Circuit realized that this is a far cry from the situation in one of its prior cases

where the private entity simply sold a commercial good, oil, to the government and was therefore

not acting under a federal officer’s direction. 4 Id. Rather, the ESI Mail Order Pharmacies

effectively became “the statutorily authorized alter ego of the federal government” because the

“TRICARE statute requires the Secretary of Defense to contract out the administration of the

TMOP program.” Id. at 253–54.

        This alone is reason to find that the ESI Mail Order Pharmacies meet the “acting under”

prong. See also Ohio State Chiropractic Ass’n v. Humana Health Plan Inc., 647 F. App’x 619, 624

(6th Cir. 2016) (recognizing that a private party can meet the “acting under” requirement by

“providing health care to federal employees,” which is a task “the government would otherwise

have to use its own agents to complete”) (citation omitted).

        But that is not the sole reason. Not only are the ESI Mail Order Pharmacies providing a

basic government function, but they are doing so under DOD’s specific requirements and control.


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         That case, Mayor & City Council of Baltimore v. BP P.L.C., 952 F.3d 452 (4th Cir. 2020),
rev’d on other grounds, 141 S. Ct. 1532 (2021), was previously touted by Frederick County as a
reason for remand. See Frederick MTR at 11–12.


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As the Fourth Circuit found, the ESI Mail Order Pharmacies “performed the day-to-day

administration of the TMOP pursuant to a lengthy and detailed SOW.” Arlington County, 996 F.3d

at 254. For example, the SOW mandates the exclusive use of the DOD formulary created by DOD’s

own Pharmacy & Therapeutics Committee. Frederick Cahill Decl. ¶ 10. Thus, “prescriptions are

dispensed in accordance with the guidelines promulgated by DOD.” Arlington County, 996 F.3d

at 252. Moreover, the SOW “dictates”—in granular detail—“how the [ESI Mail Order Pharmacies]

must operate the TMOP. Pricing, eligibility verification, shipping, payment and many other

specifications are detailed in the SOW.” Id.; see also Frederick Cahill Decl. ¶¶ 20–21 (listing the

SOW’s many requirements governing the ESI Mail Order Pharmacies); SOW § C.7. These

contractual requirements supplement the multiple federal regulations and manuals that also shape

the ESI Mail Order Pharmacies’ duties. See Arlington County, 996 F.3d at 252.

       To oversee compliance with the SOW’s detailed terms, DOD assigned a contracting officer

who “regularly meets” with representatives of Express Scripts, Inc. Frederick Cahill Decl. ¶ 24.

The contracting officer holds weekly briefings with Express Scripts, Inc., and formally reviews its

contractual compliance three times a year. Id. Outside of these official meetings, Express Scripts,

Inc., and the contracting officer speak daily about the “administration and execution” of the DOD

contract and the SOW. Id. Express Scripts, Inc., communicates the officer’s instructions to the ESI

Mail Order Pharmacies as needed to operate the TMOP. Id. The federal government and the ESI

Mail Order Pharmacies also directly interact—for instance, “during some audits that are performed

under the contract.” Id. ¶ 27. Indeed, the SOW specifically grants the Government the right to

directly audit mail-order pharmacies. SOW § C.11.4.2.

       All these facts led the Fourth Circuit to conclude that the ESI Mail Order Pharmacies were

“carrying out the duties of DOD” and were “at all times, subject to the federal government’s




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guidance and control.” Arlington County, 996 F.3d at 253; accord id. at 252 (holding that the ESI

Mail Order Pharmacies “performed the day-to-day management of the TMOP under the terms of

the contract and were subject to extensive oversight by the federal government”).

       What’s more, the record before this Court surpasses the one in Arlington County with

respect to the DOD’s monitoring. The record here establishes that in addition to audits, DOD

representatives also visit the ESI Mail Order Pharmacies’ facilities “to review the operations.”

Frederick Cahill Decl. ¶ 26. During those visits, DOD representatives tour the facilities with the

ESI Mail Order Pharmacies’ employees, and, on at least one occasion, the employees showed the

representatives specialized bottle tops approved for use for TRICARE prescriptions. Id.

       Where, as here, the contract at issue contains such “precise specifications” and federal

officers “closely monitor[]” the contractor’s compliance with that contract, the “acting under”

element is satisfied. Bennett, 607 F.3d at 1087; see also Cherokee Nation, 327 F. Supp. 3d at 1070.

       Plaintiffs do not seriously dispute the extensive control that the DOD has over how the ESI

Mail Order Pharmacies operate the TMOP. In fact, they seemingly embrace it. According to

Plaintiffs, DOD has so much control over the details of the ESI Mail Order Pharmacies’ work that

they are merely performing “rote administrative tasks.” Frederick MTR at 7; Roanoke MTR at 7.

Unsurprisingly, Plaintiffs cite no authority suggesting that a private entity ceases to be “acting

under” a federal officer when the federal officer exercises too much control over the private entity.

       Plaintiffs also resort to a formalistic argument that the Fourth Circuit saw right through:

that the ESI Mail Order Pharmacies are not acting under a federal officer because they are

subcontractors and not themselves parties to the contract between DOD and Express Scripts, Inc.

See Frederick MTR at 6; Roanoke MTR at 6. As the Fourth Circuit correctly recognized, “the

absence of a direct contractual relationship with the federal government is not a bar to removing




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an action under” the federal-officer-removal statute. Arlington County, 996 F.3d at 254. Many

other courts have held the same. See, e.g., Badilla v. Nat’l Air Cargo, Inc., 2014 WL 6390324, at

*2 (W.D.N.Y. Nov. 17, 2014); see also Frederick County, Dkt. No. 29 at 25–26 (collecting cases).

       These holdings reinforce the wide net that the federal-officer-removal statute was designed

to cast. If subcontractors could not remove under the statute, then its promises of broad protection

would be “significantly curtailed as federal contracts are often carried out, at least in part, through

subcontractors.” Arlington County, 996 F.3d at 254. Courts thus properly look beyond whether the

subcontractor is a party to a contract and instead focus on “the nature of the relationship between”

the subcontractor and the federal government. Id.

       Here, as explained above, the relationship between the ESI Mail Order Pharmacies and

DOD was particularly close, leaving little to no discretion to the ESI Mail Order Pharmacies when

implementing the TMOP. Indeed, although the DOD contract was between DOD and Express

Scripts, Inc., the SOW expressly contemplates subcontractors, like the ESI Mail Order Pharmacies,

and it requires that those subcontractors “be thoroughly trained and knowledgeable regarding the

requirements of” the SOW. Id. at 253 (quoting SOW § C.16.1). And through the audits, the DOD

contract makes the subcontractors “directly accountable to the federal government.” Id.

       Moreover, one of the DOD contract’s primary purposes was to provide mail-order-

pharmacy services. SOW § C.2. Express Scripts, Inc., is not itself a pharmacy, so, as the Fourth

Circuit concluded, DOD had “to anticipate that Express Scripts, Inc. would use subcontractors to

operate and administer the TMOP.” Arlington County, 996 F.3d at 253. And the record here reveals

that DOD did more than anticipate; it was aware of and approved of every site that the ESI Mail

Order Pharmacies used for delivering drugs under the TMOP. Frederick Cahill Decl. ¶¶ 17–18.




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       In sum, the ESI Mail Order Pharmacies are acting under the direction of a federal officer

when running the TMOP under the SOW, subject to the DOD’s guidance and control.

               2.     Express Scripts, Inc., also satisfies the “acting under” prong.

       Express Scripts, Inc., also independently satisfies the “acting under” prong based on the

PBM services it provides to TRICARE members under its DOD contract.

       The SOW dictates every aspect of the PBM services that Express Scripts, Inc., performs

for TRICARE members. Frederick Cahill Decl. ¶ 9. For example, it mandates the exclusive use of

the DOD formulary. Id. ¶ 10. It sets out the claim-processing requirements. Id. ¶¶ 11, 13; SOW

§ C.6. And it specifies the restrictions that Express Scripts, Inc., could enforce for prescription

opioids and other medications through the “Prescription Restriction Program.” Frederick Cahill

Decl. ¶ 12; SOW § C.9. All these are tasks that DOD would otherwise have had to do itself.

       The Sixth Circuit previously noted that Express Scripts, Inc., had “properly removed” a

case under the federal-officer-removal statute because it was acting under DOD when providing

PBM services to TRICARE members. Grider Drug, LLC v. Express Scripts, Inc., 500 F. App’x

402, 404 (6th Cir. 2012). As the district court in that case explained, Express Scripts, Inc., as a

PBM, assists DOD by (among other things) “providing the retail pharmacy network and acting as

a fiscal intermediary,” and by “issu[ing] funds to pay for each TRICARE prescription only after

receiving verification and authorization from the DoD.” 2009 U.S. Dist. Lexis 107515, at *7.

Accordingly, the district court concluded “that when executing its duties under this contract ESI

[Express Scripts, Inc.,] is ‘acting under’ the Secretary of the DoD because it is performing a job

that the DoD otherwise would have to perform.” Id. at *7. The same is true here.




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       B.      The Express Scripts Defendants alternatively satisfy the “acting under” prong
               through their acts under the Federal Employees Health Benefits Program.

       In the notice of removal and prior response to Frederick County’s motion to remand, the

Express Scripts Defendants fully laid out their alternative argument why their activities under the

FEHBP independently satisfy the “acting under” prong. See Frederick County, Dkt. No. 1 at 13–

15 & Dkt No. 29 at 24–28.5 Frederick County completely ignored the Express Scripts Defendants’

FEHBP argument in its prior briefing, so the Express Scripts Defendants largely rest on their

original filings. They only briefly summarize the argument here and stress that Arlington County’s

reasoning applies equally to the Express Scripts Defendants’ conduct under the FEHBP.

       In the Federal Employees Health Benefits Act of 1959, 5 U.S.C. § 8901 et seq., Congress

empowered the Office of Personnel Management (“OPM”) “to contract with private carriers for

federal employees’ health insurance.” Coventry Health Care of Missouri v. Nevils, 137 S. Ct. 1190,

1194 (2017). Participating insurance plans are known as FEHBP plans. Express Scripts, Inc., and

the ESI Mail Order Pharmacies provide PBM and mail-order-pharmacy services for several

FEHBP plans, including in Frederick County. Frederick County, Dkt. No. 29-10 (“Donnelly

Decl.”) ¶¶ 3–4. In that capacity, the Express Scripts Defendants are subject to OPM’s requirements,

oversight, and control. See Frederick County, Dkt. No. 29 at 12–17, 27.

       Thus, just as the Eighth Circuit held in affirming removal by a local insurance vender to a

FEHBP plan without a direct contract with OPM, the Express Scripts Defendants are “help[ing]

the government fulfill the basic task of establishing a health benefits program for federal


       5
         The Express Scripts Defendants did not discuss the FEHBP in their City of Roanoke notice
of removal. Should the Court find it necessary to reach the alternative FEHBP basis for removal,
the Express Scripts Defendants request leave to amend their City of Roanoke notice of removal to
set out the FEHBP allegations that support removal jurisdiction. See Tech Hills II Associates v.
Phoenix Home Life Mut. Ins. Co., 5 F.3d 963, 969 (6th Cir. 1993) (allowing amendment of notice
of removal to add missing allegations supporting removal jurisdiction).


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employees.” Jacks v. Meridian Res. Co., LLC, 701 F.3d 1224, 1233 (8th Cir. 2012). And because

OPM has extensive control over the Express Scripts Defendants in helping it carry out that goal,

the Express Scripts Defendants are acting under a federal officer.

II.    The Express Scripts Defendants’ charged conduct relates to their acts under
       TRICARE and the Federal Employees Health Benefits Program.

       Under the federal-officer-removal statute’s second prong, the removing defendant must

show that the charged conduct was “for or relating to any act under color” of the federal office.

28 U.S.C. § 1442(a)(1) (emphasis added). Until 2011, courts interpreted this prong as requiring

that the removing defendant show “a nexus, a ‘causal connection’ between the charged conduct

and the asserted official authority.” Bennett, 607 F.3d at 1088 (cleaned up). That “causal nexus”

test, however, was based on the pre-2011 language stating that the charged conduct must be “for

any act under color of office.” Ohio State Chiropractic, 647 F. App’x at 624. In other words, the

old language lacked the “or relating to” phrase.

       In the Removal Clarification Act of 2011, Congress amended that phrase to its current form.

Id. The new “relating to” language was, as the Sixth Circuit has recognized, “intended to broaden

the universe of acts that enable Federal officers to remove to Federal court.” Id. In keeping with

that holding, district courts within this circuit have recognized that the “federal officer removal

statute thus no longer imposes a ‘direct causal nexus’ requirement.” Reed v. Tyson Foods, Inc.,

2021 WL 5107725, at *4 (W.D. Tenn. Nov. 3, 2021).

       Although the Sixth Circuit has not definitively interpreted this new statutory language,

other circuits—including the Fourth Circuit in Arlington County—have held that this prong now

requires a “connection or association between the act in question and the federal office.” Arlington

County, 996 F.3d at 256 (emphasis added; citation omitted); see also, e.g., Latiolais v. Huntington

Ingalls, Inc., 951 F.3d 286, 292 (5th Cir. 2020) (en banc) (adopting “connection” test over outdated



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“causal nexus” test); In re Commonwealth’s Motion to Appoint Counsel Against or Directed to Def.

Ass’n of Philadelphia, 790 F.3d 457, 471 (3d Cir. 2015) (same). This new test echoes how the

Supreme Court has interpreted the phrase “relating to,” which is a “broad” phrase meaning “to

stand in some relation; to have bearing or concern; to pertain; refer; to bring into association with

or connection with.” Morales v. Trans World Airlines, Inc., 504 U.S. 374, 383 (1992) (emphasis

added; citation omitted). This Court should, like the district court in Reed, adopt the well-reasoned

decisions of other Circuits and apply the “connection or association” test—the test that matches

how the Supreme Court has defined the phrase “relating to.”

       In any event, the Express Scripts Defendants satisfy either test.

       As to the ESI Mail Order Pharmacies, Arlington County paves the way. The allegations in

the Arlington County complaint relevant to this issue are word-for-word identical to Plaintiffs’

allegations here. This Court’s analysis can thus track (exactly) the Fourth Circuit’s analysis, which

also happens to mirror this Court’s own prior discussion of this prong in Cherokee Nation.

       In their complaints, Plaintiffs allege that the ESI Mail Order Pharmacies “did nothing to

stem the flow of excess opioids into” Frederick and Roanoke. Frederick County, Dkt. No. 1-2

(“Frederick Compl.”) ¶ 16; City of Roanoke, Dkt. No. 48 (“Roanoke Compl.”) ¶ 15. They

purportedly “purchased, dispensed and profited from the movement of the brand and generic

opioids at issue in this litigation.” Frederick Compl. ¶ 487; Roanoke Compl. ¶ 485. And they

supposedly “made money on every opioid prescription they filled,” even though they allegedly

knew that opioids were oversupplied. Frederick Compl. ¶¶ 16, 422; Roanoke Compl. ¶¶ 15, 420.

Plaintiffs then purport to calculate the total number of opioid pills that the ESI Mail Order

Pharmacies purchased and assert that those pills were “dispensed . . . by mail to patients

nationwide, including in” Frederick and Roanoke. Frederick Compl. ¶¶ 489–91; Roanoke Compl.




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¶¶ 487–89. Plaintiffs’ allegations wrap up with a public-nuisance claim: The ESI Mail Order

Pharmacies allegedly “created a condition of a grossly excessive amount of opioids in circulation

that was and continues to be dangerous to the public and has injured those in” Frederick and

Roanoke. Frederick Compl. ¶ 591; Roanoke Compl. ¶ 589.

       As the Fourth Circuit held, these allegations “necessarily include[] activity that is directly

connected to the DOD contract” because the ESI Mail Order Pharmacies were “required to act in

conformity with that contract” when mailing opioids to military members within Plaintiffs’

borders. Arlington County, 996 F.3d at 257 (emphasis added); see also Frederick Cahill Decl. ¶¶ 4–

5, 8; Roanoke Cahill Decl. ¶¶ 4–5, 8. Plaintiffs blame the ESI Mail Order Pharmacies “for filling

certain opioid prescriptions and causing a public nuisance, but the ESI Defendants were required

to fill those prescriptions to comply with their duties under the DOD contract because they had no

ability to modify the contract.” Arlington County, 996 F.3d at 257. The same is true for the

prescriptions filled for federal employees under FEHBP plans. In short, Plaintiffs’ allegations and

claims relate to the ESI Mail Order Pharmacies’ “governmentally-directed conduct.” Id.

       Plaintiffs try to use artful pleading to escape this conclusion. According to Plaintiffs, no

causal connection exists between the ESI Mail Order Pharmacies and the DOD contract because

the complaints do not mention the DOD contract by name. Frederick MTR at 3 n.2, 10; Roanoke

MTR at 3 n.2, 9. The Fourth Circuit rejected this argument because it would “elevate form over

substance.” Arlington County, 996 F.3d at 256. Plaintiffs chose to put “every opioid prescription”

filled at issue, Frederick Compl. ¶¶ 16, 422; Roanoke Compl. ¶¶ 15, 420; this necessarily includes

opioids that the ESI Mail Order Pharmacies filled through the TMOP and the FEHBP plans.

       This Court rejected a similar argument in Cherokee Nation. There, the plaintiffs (Native

American tribes) argued that no causal nexus existed between the actions directed by the federal




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officer and the complaint because they had not expressly alleged that any diverted opioids came

from tribal healthcare facilities. 327 F. Supp. 3d at 1077. This Court disagreed. It correctly realized

that the tribes—like Plaintiffs here—“put all prescription opioids at issue and allege[d] that

diversion can occur at any point in the supply chain, including those opioids supplied” under

McKesson’s contract with the Department of Veterans Affairs. Id. Thus, there was a “causal nexus

between McKesson’s action under the direction of a federal officer (filling orders pursuant to the

PPV contract) and Cherokee’s claim of opioid diversion (that McKesson knew or should have

known that the orders were suspicious and should not have filled them).” Id. So too here. Plaintiffs’

allegations (filling opioid prescriptions) have a connection with the ESI Mail Order Pharmacies’

acts under color of federal office (mailing opioids to TRICARE members through the TMOP and

doing the same for FEHBP members through their federal healthcare plans).

       Frederick County’s allegations against Express Scripts, Inc., are also connected and

associated with its role under the DOD contract and FEHBP plans. Frederick County alleges that

Express Scripts, Inc., as a PBM, should have controlled “the distribution of prescription opioids,”

Frederick Compl. ¶ 532, especially by altering its formularies to impose more restrictions on

opioids and to cover more nonopioids, id. ¶¶ 572–579. But DOD specifies the formulary for

TRICARE members as well as the requirements and restrictions that Express Scripts, Inc., must

adhere to when adjudicating claims by TRICARE members for prescription opioids and other

medications. Frederick Cahill Decl. ¶¶ 9–13; SOW §§ C.6, C.9. And OPM imposes similar

requirements for FEHBP plans. See Frederick County, Dkt. No. 29 at 12–17, 27.

       The conduct alleged against Express Scripts, Inc. (purported failure to control opioid

prescriptions, including through formularies) is therefore connected and associated with the very

tasks it must carry out for DOD and the FEHBP plans (implementing the government’s formulary




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decisions and processing claims by military members and federal employees for prescription

opioids and other medications). Express Scripts, Inc., thus fulfills the “related to” prong.

       Plaintiffs also assert that TRICARE members’ involvement with opioids is too de minimis

to support removal jurisdiction. Frederick MTR at 10 n.5; Roanoke MTR at 10 n.6. The Express

Scripts Defendants previously addressed this argument in full. See Frederick County, Dkt. No. 29

at 30–31. In short, there is no de minimis exception to removal jurisdiction, and even if there were,

the Express Scripts Defendants’ activities for TRICARE are not de minimis. Among other things,

DOD is the Express Scripts Defendants’ second largest client, and the Express Scripts Defendants

have processed many claims for TRICARE members. Frederick Cahill Decl. ¶¶ 5–6, 8; Roanoke

Cahill Decl. ¶¶ 5–6, 8.

III.   The Express Scripts Defendants have colorable federal defenses.

       The final element—the colorable-federal-defense prong—is a low bar. A defense need only

be “plausible.” Bennett, 607 F.3d at 1089. Here, the Express Scripts Defendants have two such

defenses: (1) government contractor, and (2) preemption.

       Government-contractor defense. The government-contractor defense applies when “(a)

the United States approved reasonably precise specifications; (b) the equipment conformed to

those specifications; and (c) the supplier warned the United States about dangers in the use of the

equipment known to the supplier but not to the United States.” Cherokee Nation, 327 F. Supp. 3d

at 1078 (quoting Boyle v. United Techs. Corp., 487 U.S. 500, 501 (1988)). It covers both contractors

and subcontractors alike. See Tate v. Boeing Helicopters, 140 F.3d 654, 658 n.2 (6th Cir. 1988);

see also, e.g., Arlington County, 469 F.3d at 255 (applying government-contractor defense to a

subcontractor); Maguire v. Hughes Aircraft Corp., 912 F.2d 67 (3d Cir. 1990) (same); Jackson v.

Avondale Indus. Inc., 469 F. Supp. 3d 689, 705 (E.D. La. 2020) (collecting cases).




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       At its core, the defense protects contractors and subcontractors from the state “tort liability”

that may befall them should they carry out the federal contract. Bennett, 607 F.3d at 1089. Although

the defense originated in the military-procurement-contract context, this Court correctly

recognized that “the Sixth Circuit specifically addressed whether the government contractor

defense was available to non-military service contractors and found that it was.” Cherokee Nation,

607 F. Supp. 3d at 1078 (citing Bennett, 607 F.3d at 1091).

       The Express Scripts Defendants have a plausible government-contractor defense for the

same reasons that this Court found the defense plausible in Cherokee Nation. There, this Court

found that McKesson had established the first two requirements because (1) McKesson plausibly

alleged that its contract with the government to supply opioids to the Cherokee Nation showed that

“the United States [had] approved reasonably precise specifications”; and (2) McKesson’s

performance under the contract “conformed to those specifications.” Id. In Arlington County, the

Fourth Circuit applied that holding to the ESI Mail Order Pharmacies’ actions. It concluded that,

“[s]imilar to McKesson [in Cherokee Nation], the ESI Defendants have plausibly alleged that they

distributed opioid medications pursuant to reasonably precise specifications found in the DOD

contract and, more specifically, the SOW.” Arlington County, 996 F.3d at 243.

       The same reasoning applies here. The Express Scripts Defendants have alleged that they

provide PBM services and operate the TMOP for TRICARE members under the SOW’s detailed

specifications and that they comply with those specifications. Similarly, they allege that they

provide the same services to FEHBP members under OPM’s robust requirements, which they

likewise follow.

       As to the third element of the government-contractor defense, this Court held that

McKesson had satisfied it because McKesson could “plausibly argue that it was aware of no




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greater danger than the government was already aware of.” Cherokee Nation, 327 F. Supp. 3d at

1078. Here, as the Fourth Circuit recognized, the Express Scripts Defendants can likewise

plausibly argue that they “were not aware of any greater dangers than DOD or the federal

government more generally.” Arlington County, 996 F.3d at 256.

       Preemption. The Express Scripts Defendants have also raised a colorable preemption

defense under two federal statutes: (1) the TRICARE statute, and (2) the Federal Employees

Health Benefits Act of 1959 (“FEHBA”), 5 U.S.C. § 8901 et seq.

       The TRICARE statute has an express preemption provision that preempts any state laws to

the extent that the Secretary of Defense determines that those laws are “inconsistent with a specific

provision of the contract” or that “preemption . . . is necessary to implement or administer the

provisions of the [TRICARE] contract or to achieve any other important Federal interest.” 10

U.S.C. § 1103(a). The Secretary has done so. See 32 C.F.R. § 199.21(o). Here, as the Fourth Circuit

held, “it is plausible that the ESI Defendants have a valid preemption defense” under the TRICARE

statute against Plaintiffs’ state-law claims—both common law and statutory. Arlington County,

996 F.3d at 256. That is because the conduct about which Plaintiffs complain is conduct that the

Express Scripts Defendants “were required to carry out to comply with the language of the DOD

contract as well as the TRICARE statute, regulations and policies.” Id.; see also Grider, 2009 U.S.

Dist. Lexis 107515, at *10 (finding “colorable” the defense that 32 C.F.R. § 199.21(o) preempts

state-law claims against Express Scripts, Inc.).

       FEHBA, too, contains an express preemption provision displacing any state laws relating

to coverage or benefits afforded by FEHBP plans. 5 U.S.C. § 8902(m)(1); see Coventry, 137 S. Ct.

1190 (holding that FEHBA preempted state laws that bar enforcement of contractual subrogation

and reimbursement provisions). Here, Frederick County’s state-law claims are preempted under




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FEHBA because they seek to interfere with uniform FEHBP plan administration by trying to

dictate the terms of FEHBP plans when it comes to opioids. They are therefore related to the

coverage and benefits provided by FEHBP plans.

       Whether the Express Scripts Defendants will prevail on these defenses remains to be seen.

But success on the merits is irrelevant for federal-officer-removal purposes; the defenses need only

be colorable. Here, they are.

                                           Conclusion

       The Express Scripts Defendants have met the requirements of the federal-officer-removal

statute. The Fourth Circuit has already so held on a materially identical complaint and record. This

Court should adopt that correct conclusion and deny Plaintiffs’ motions to remand. 6




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         If this Court decides to grant remand in one or both of these Virginia cases, then the
Express Scripts Defendants request that the Court wait on directing the clerk to execute any remand
order for at least 30 days so that the Express Scripts Defendants may seek a stay and an appeal.
“The Federal Officer Removal Statute is unique in that it provides a right to appeal where a case
removed under 28 U.S.C. § 1442 is subsequently remanded.” Cherokee Nation, 327 F. Supp. 3d at
1069 (citing 28 U.S.C. § 1447(d)).


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Dated: September 30, 2022             Respectfully submitted,

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